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Case 19-00880-JDP Doc 84-1 Filed 07/02/21 Entered 07/02/21 16:41:59   Desc
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Case 19-00880-JDP Doc 84-1 Filed 07/02/21 Entered 07/02/21 16:41:59   Desc
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               Schedule Schedule 3 to Exhibit A Page 21 of 28
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               Schedule Schedule 3 to Exhibit A Page 22 of 28
Case 19-00880-JDP Doc 84-1 Filed 07/02/21 Entered 07/02/21 16:41:59   Desc
               Schedule Schedule 3 to Exhibit A Page 23 of 28
Case 19-00880-JDP Doc 84-1 Filed 07/02/21 Entered 07/02/21 16:41:59   Desc
               Schedule Schedule 3 to Exhibit A Page 24 of 28
Case 19-00880-JDP Doc 84-1 Filed 07/02/21 Entered 07/02/21 16:41:59   Desc
               Schedule Schedule 3 to Exhibit A Page 25 of 28
Case 19-00880-JDP Doc 84-1 Filed 07/02/21 Entered 07/02/21 16:41:59   Desc
               Schedule Schedule 3 to Exhibit A Page 26 of 28
Case 19-00880-JDP Doc 84-1 Filed 07/02/21 Entered 07/02/21 16:41:59   Desc
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Case 19-00880-JDP Doc 84-1 Filed 07/02/21 Entered 07/02/21 16:41:59   Desc
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